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               IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 WAIMANA ENTERPRISES, INC.,               Case No. 1:22-CV-00435-JAO-KJM
 et al.                                   (Bankruptcy Appeal)

                   Appellant.             APPELLEE HAWAIIAN
                                          TELCOM, INC.’S
                   v.                     OPPOSITION BRIEF TO
                                          APPEAL OF DISMISSAL OF
 HAWAIIAN TELCOM, INC.,                   FIRST AMENDED COMPLAINT;
                                          EXHIBIT A; STATEMENT OF
                   Appellee.              RELATED CASES;
                                          CERTIFICATE OF
                                          COMPLIANCE
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                     CORPORATE DISCLOSURE STATEMENT

      Appellee Hawaiian Telcom, Inc. is a Hawaii corporation, whose stock is

100% owned by Cincinnati Bell Inc. There is no publicly held corporation that

holds 10% or more of the stock in Cincinnati Bell Inc.



      DATED: Honolulu, Hawaii, April 24, 2023.


                                      PETTIT LAW HAWAI’I LLLC

                                           /s/ Ted N. Pettit
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